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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF OKLAHOMA

STEVEN SULLIVAN and                                   )
VANESSA SULLIVAN,                                     )
                                                      )
                               Plaintiffs,            )
                                                      )
v.                                                    )       Case No. CIV-05-855-M
                                                      )
USAA GENERAL INDEMNITY COMPANY,                       )
                                                      )
                               Defendant.             )

                                             ORDER

        Before the Court is Defendant’s Supplemental Motion to Compel [docket no. 8], filed August

23, 2005. Plaintiffs filed their response on September 12, 2005, and on October 11, 2005, Defendant

filed its reply.

I.      Introduction

        This case was originally filed in Oklahoma state court. Plaintiffs allege claims of breach of

contract and breach of the duty of good faith and fair dealing by Defendant. Defendant served its

First Set of Interrogatories and Requests for Production on January 7, 2005. Plaintiffs’ responses

were due on February 6, 2005. Plaintiffs’ counsel requested an extension, which Defendant’s

counsel granted. Plaintiffs’ responses were not provided within the extended period. In early

March, 2005, Plaintiffs’ counsel advised Defendant that responses were forthcoming; however, by

the middle of May, Plaintiffs’ responses still had not been provided. Defendant’s counsel wrote a

letter to Plaintiffs’ counsel requesting immediate responses; Plaintiffs’ counsel never responded.

Defendant’s counsel left several telephone messages for Plaintiffs’ counsel concerning the

delinquent responses. Plaintiffs’ counsel still did not respond.

        On June 8, 2005, Defendant filed a motion to compel discovery responses with the Oklahoma
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County District Court. The day before the hearing on the motion, Plaintiffs’ counsel called

Defendant’s counsel and offered to provide the responses if Defendant’s counsel would dismiss the

motion. Defendant’s counsel agreed to postpone the hearing. On July 25, 2005, Defendant’s

counsel received Plaintiffs’ responses, and on July 27, 2005, the case was removed to this Court.

On July 29, 2005, Defendant’s counsel wrote Plaintiffs’ counsel a letter setting forth their discovery

dispute, and on August 23, 2005, the instant motion was filed.

       The parties have been unable to resolve their differences regarding three categories of

information to which Defendant now moves the Court to compel Plaintiffs’ complete, unevasive

responses. Those categories are: (1) facts giving rise to Plaintiffs’ claims; (2) damages; and (3) e-

mail communications.

II.    Discussion

       “Discovery rules are to be accorded a broad and liberal treatment.” Miller v. Doctor’s Gen.

Hosp., 76 F.R.D. 136 (W.D. Okla. 1977) (citing Schlagenhauf v. Holder, 379 U.S. 104 (1964);

Hickman v. Taylor, 329 U.S. 495 (1947)). Federal Rule of Civil Procedure 26(b)(1) provides, in

pertinent part:

                  In General. Parties may obtain discovery regarding any matter, not
                  privileged, that is relevant to the claim or defense of any party,
                  including the existence, description, nature, custody, condition, and
                  location of any books, documents, or other tangible things and the
                  identity and location of persons having knowledge of any
                  discoverable matter. For good cause, the court may order discovery
                  of any matter relevant to the subject matter involved in the action.
                  Relevant information need not be admissible at the trial if the
                  discovery appears reasonably calculated to lead to the discovery of
                  admissible evidence.

Fed. R. Civ. P. 26(b)(1). Further,

                  [i]n opposing discovery on the grounds of burdensomeness, a party

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               has the burden to show facts justifying their objection by
               demonstrating that the time or expense involved in responding to
               requested discovery is unduly burdensome. This imposes an
               obligation to provide sufficient detail in terms of time, money and
               procedure required to produce the requested documents. Discovery
               should be allowed unless the hardship is unreasonable in light of the
               benefits to be secured from the discovery.

Cory v. Aztec Steel Bldg., Inc., 225 F.R.D. 667, 672 (D. Kan. 2005) (internal quotations and citations

omitted). Additionally, “the party seeking to assert the attorney-client privilege or the work product

doctrine as a bar to discovery has the burden of establishing that either or both is applicable.” Peat,

Marwick, Mitchell & Co. v. West, 748 F.2d 540, 542 (10th Cir. 1985).

       A.      Facts Giving Rise to Plaintiffs’ Claims

       Interrogatory Nos. 4, 5 and 6 request that Plaintiffs identify each statement, act or conduct

of Defendant which they contend constitutes bad faith, breach of the implied covenant of good faith

and fair dealing, or breach of contract, or gives rise to their claim for punitive damages. In their

response, Plaintiffs identified eight (8) separate categories of statements, acts or conduct of

Defendant that constitute bad faith or breach of the implied covenant of good faith and fair dealing

and four (4) categories of statements, acts or conduct of Defendant that constitute a breach of

contract.

       Having carefully reviewed the parties’ submissions, the Court finds that Plaintiffs have

completely and adequately responded to said interrogatories. Accordingly, the motion to compel

as to Interrogatory Nos. 4, 5 and 6 is DENIED.

       Interrogatory No. 10 requests:

               With regard to your allegation . . . that Defendant failed “to provide
               a timely, proper and reasonable evaluation of the Plaintiff’s
               underinsured motorist claims resulting from the December 7, 2003
               loss”:

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                        (a)     State all facts which you believe tend to support of [sic] refute this
                                allegation; and
                        (b)     Identify (as defined) each document or other tangible thing that you
                                believe tends to either support, refute or explain such allegation.

Plaintiffs objected to this interrogatory as follows:

                 Plaintiffs object to this Interrogatory on the basis that it is overly
                 broad and unduly burdensome. In addition, Plaintiffs object to this
                 Interrogatory on the basis that Defendant can derive the requested
                 information from its own records and the burden of deriving or
                 ascertaining the information requested by the Defendant is
                 substantially the same as it is for Plaintiffs.

Plaintiffs also referred Defendant to “[s]ee Claims File and Log as produced by Defendant to

Plaintiffs’ counsel,” and to “see documents and information produced by Defendant on January 24,

2005 Bates-stamped USAA/SUL-0526 through USAA/SUL-0684; including, but not limited to, the

specifically identified sections addressed in Plaintiff’s [sic] Response to Interrogatory #4, sub

paragraph #8.”

       Having carefully reviewed the parties’ submissions, the Court finds that Plaintiffs have

completely and adequately responded to subpart b. Accordingly, Defendant’s motion to compel as

to subpart b is DENIED. However, as to subpart a, the Court finds that Plaintiffs have not met their

burden of showing that request is overly broad or that the production of the information Defendant

has requested would be unduly burdensome. As such, the Court finds that Plaintiffs must provide

Defendant with a responsive, complete and unevasive answer. Accordingly, Defendant’s motion

to compel as to subpart a is GRANTED.

       Request for Production No. 7 seeks all documents evidencing communication between

Defendant and the law offices of Goolsby, Olson & Proctor. In response, Plaintiffs referred

Defendant to documents and information attached to Defendant’s own discovery responses produced


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on or about December 30, 2004, including Bates-stamped USAA/SUL-001 through USAA/SUL-

525. Plaintiffs also stated that Plaintiffs’ counsel would make certain audio tapes available at a

mutually convenient time. Defendant contends that although Plaintiffs produced some audio tapes

for inspection, they did not comply with Defendant’s counsel’s requests that those tapes be sent for

copying at Defendant’s expense. Plaintiffs respond that, since the filing of the instant motion, the

subject audio tapes have been collected, copied, and provided to Defendant’s counsel. Defendant

does not deny this in its reply.

       Having carefully reviewed the parties’ submissions, the Court finds that Plaintiffs have

completely and adequately responded to the request. Accordingly, the Court finds that Defendant’s

motion to compel as to Request for Production No. 7 should be, and hereby is, DENIED as moot.

       B.       Damages1

       Interrogatory No. 7 requests that Plaintiffs describe the damages they contend they suffered

as a result of Defendant’s alleged bad faith conduct. Specifically, Defendant requests the types of

damages, the amount of damages, and the methodology used by Plaintiffs to calculate such damages.

Plaintiffs assert that because this information is the subject of initial disclosures required by Rule

26, the request is unreasonably cumulative and duplicative. Plaintiffs further assert that their initial

disclosures, required by Rule 26, are not yet due, and consequently that Defendant’s motion to

compel as to Interrogatory No. 7 should be denied.

       Defendant initially served Plaintiffs with its interrogatories nearly seven (7) months before



       1
       Defendant also lists Request for Production No. 20 in this category but does not provide any
information regarding how Plaintiffs’ response thereto is deficient. As such, the Court finds that
Defendant’s motion to compel as to Request for Production No. 20 should be, and hereby is,
DENIED.

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Plaintiffs responded and before either party was subject to the initial disclosure requirements of Rule

26. Plaintiffs have not provided any explanation for the delay. Failure to timely assert an objection

to an interrogatory results in waiver of the objection. Cardenas v. Dorel Juvenile Group, Inc., 231

F.R.D. 616, 618 (D. Kan. 2005). As such, the Court declines to consider Plaintiffs’ objections and

finds that Plaintiffs must provide Defendant with a responsive, complete and unevasive answer to

Interrogatory No. 7. Accordingly, the Court finds that Defendant’s motion to compel as to

Interrogatory No. 7 should be, and hereby is, GRANTED.

       Interrogatory Nos. 8 and 9 and Request for Production Nos. 23 and 24 request that Plaintiffs

explain and produce documents relating to the how they spent monies received from Defendant and

the tortfeasor’s insurance carrier. Plaintiffs responded to these discovery requests as follows:

               Plaintiffs object to this [Interrogatory / Request] on the basis that it
               seeks information that is protected by the attorney/client work
               product privilege, and on the basis that it is oppressive, sought to
               embarrass the Plaintiffs, overly broad and unduly burdensome. In
               addition, this [Interrogatory / Request for Production] seeks
               information not reasonably calculated to lead to the discovery of
               admissible evidence and is an invasion of the Plaintiffs’ privacy
               rights.

Additionally, in response to Request for Production No. 24, Plaintiffs directed Defendant to a check

issued to Plaintiff Steven Sullivan by USAA General Indemnity company on October 12, 2004 in

the amount of $40,000.00. Defendant contends that the information is relevant to the amount of

Plaintiffs’ damages and to their efforts to mitigate those damages, and that Plaintiffs’ privilege

arguments are without merit.

       Having carefully reviewed the parties’ submissions, the Court finds that all of Defendant’s

requests meet the liberal relevancy standard of Rule 26(b)(1), and that, although the payment of

money by Plaintiffs in subrogation of health insurance may not be admissible at trial, the requests

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are reasonably calculated to lead to the discovery of admissible evidence. The Court further finds

that Plaintiffs have neither met their burden of establishing that either the attorney-client or the

attorney work product privilege is applicable, nor have they met their burden of establishing that the

requests are overly broad, burdensome, or oppressive. Accordingly, the Court finds that Defendant’s

motion to compel as to Interrogatory Nos. 8 and 9 and Request for Production Nos. 23 and 24 should

be, and is hereby, GRANTED.

       Interrogatory No. 12 requests that Plaintiffs identify all doctors, physicians or other persons

from whom they have received treatment or counseling since December 2001. Plaintiffs object to

this interrogatory on the basis that it is vague, overly broad and not calculated to lead to admissible

evidence. These objections not withstanding, Plaintiffs answered the interrogatory by directing

Defendant to the list of “accident related” healthcare providers provided in their response to

Interrogatory No. 3, and information contained within Defendant’s claims materials produced to

Plaintiffs’ counsel. Defendants contend that the information sought is relevant to Plaintiffs’ claims

of anxiety, frustration, mental and emotional distress, and mental anguish purportedly caused by

Defendant’s alleged bad faith conduct. In their response to the instant motion, Plaintiffs assert that

they did not seek medical treatment with respect to these items of damages. Having carefully

reviewed the parties’ submissions, the Court finds that Plaintiffs have fully and completely

responded to this interrogatory. Accordingly, the Court finds that Defendant’s motion to compel

as to Interrogatory No. 12 should be, and hereby is, DENIED.

       Request for Production No. 4 seeks all explanations of benefits issued by any health insurer

or entity providing health care benefits to Plaintiffs, or which refers to treatment provided to

Plaintiffs since December, 2003. Plaintiffs object to this interrogatory on the basis that it is


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oppressive, overly broad, unduly burdensome and an unreasonable invasion of privacy, and that it

seeks information not reasonably calculated to lead to the discovery of admissible evidence.

Plaintiffs further assert that the information sought is subject to the collateral source rule. Having

carefully reviewed the parties’ submissions, the Court finds that Defendant has met its initial burden

of establishing that the information is relevant. In contrast, the Court finds that Plaintiffs have not

met their burden of establishing that the request is overly broad, oppressive, unduly burdensome,

or an unreasonable invasion of privacy. Further, the Court finds that although the collateral source

rule may make the information inadmissible at trial, it appears reasonably calculated to lead to the

discovery of admissible evidence; and, since discovery does not depend upon admissibility at trial,

the information is discoverable at this stage of the proceedings. See Bohannon v. Honda Motor Co.

Ltd., 127 F.R.D. 536 (D. Kan. 1989). Accordingly, the Court finds that Defendant’s motion to

compel as to Request for Production No. 4 should be, and hereby is, GRANTED.

       Request for Production No. 17 seeks the following:

               To the extent you claim economic harm or emotional distress as a
               result of Defendant’s actions, produce:
               a.      All account statements, cancelled checks and other records of
                       all bank accounts held by you during the period starting one
                       year before your loss and extending to the present;
               b.      All account statements, cancelled checks and other records of
                       all savings and loan accounts held by you during the period
                       starting one year before your loss and extending to the
                       present;
               c.      All account statements, cancelled checks and other records of
                       all securities accounts held by you during the period starting
                       one year before your loss and extending to the present;
               d.      All account statements, cancelled checks and other records of
                       all money market accounts and mutual funds held by you
                       during the period starting one year before your loss and
                       extending to the present;
               e.      All bond and stock certificates owned by you;
               f.      All deeds and conveyances relating to property in which you

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                       had an interest during the period starting one year before your
                       loss and extending to the present;
               g.      All books and records of your income and finances at any
                       time during the period starting one year before your loss and
                       extending to the present;
               h.      All financial statements purporting to represent your financial
                       condition or results of business operations at any time during
                       the period starting one year before your loss and extending to
                       the present;
               i.      All writings reflecting your interest in any item of property
                       for which you are claiming loss or damage within the
                       coverage of the policy period at issue;
               j.      All documents reflecting any expenses incurred as a result of
                       your claim; and
               k.      All documents reflecting any debt you incurred as a result of
                       your claim.

Plaintiffs objected to this request as follows:

               Plaintiffs object to this Request for Production on the basis that it
               seeks information which is protected by the attorney client/work
               product privilege, is an invasion of privacy, unduly burdensome and
               seeks information that is not calculated to lead to the discovery of
               admissible evidence.

Nevertheless, Plaintiffs agreed to produce information responsive to this request upon the execution

and receipt by Plaintiffs of an appropriate protective order, which the Court entered on August 1,

2005. In their response to the instant motion, Plaintiffs assert that they do not have any information

responsive to subparts c, e, f, g, h or i. Defendant contends that, despite the Court having entered

the parties’ Stipulated Confidentiality Agreement and Protective Order, Plaintiffs have not, as of the

filing of the Defendant’s motion to compel, produced the requested documents.

       Having carefully reviewed the parties’ submissions, the Court finds that, as to subparts c, e,

f, g, h and i, Plaintiffs have completely and adequately responded to Defendant’s request. The Court

further finds that, although the information sought in subparts a, b, d is relevant, the request, as it

currently stands, is overly broad to the extent that the time period for which information is sought

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is excessive. Further, the Court finds that as to subparts j and k, Defendant is entitled a to

responsive, unevasive response. Accordingly, the Court finds that Defendant’s motion to compel

as to Request for Production No. 17 subparts a, b, c, d, e, f, g, h, and i should be, and hereby is,

DENIED.2 As to subparts j and k, the Court finds that Defendant’s motion to compel should be, and

hereby is, GRANTED.

       C.       E-mail Communications

       Interrogatory No. 14 requests that Plaintiffs identify all e-mail addresses they have used to

send or receive electronic communications. Plaintiffs object on the basis that the request is overly

broad, unduly burdensome, oppressive, and seeks information not reasonably calculated to lead to

the discovery of admissible evidence. Plaintiffs further assert that the information is protected by

the attorney-client or the attorney work product privilege. Having carefully reviewed the parties’

submissions, the Court finds that the information requested in this interrogatory is not relevant, nor

does it appear reasonably calculated to lead to the discovery of admissible evidence. Accordingly,

the Court finds the Defendant’s motion to compel as to Interrogatory No. 14 should be, and hereby

is, DENIED.

       Interrogatory No. 15 seeks the following:

                For any computer owned, leased or operated by you (other than use
                of a computer dedicated to a public location such as a library) since
                December 7, 2003, state:

                a.     The current location of the computer;
                b.     The owner of the computer;
                c.     The size of the computer’s hard drive; and
                d.     The approximate time period in which you used the


       2
      The Court would note that Defendants are not precluded from seeking these types of
documents through more narrowly tailored requests.

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                       computer.

Plaintiffs object to this interrogatory on the basis that it is overly broad, unduly burdensome,

oppressive and seeks information not reasonably calculated to lead to the discovery of admissible

evidence. Plaintiffs also assert that the request is an unnecessary invasion of privacy. Having

carefully reviewed the parties’ submissions, the Court finds that the information requested is not

relevant, nor does it appear reasonably calculated to lead to the discovery of admissible evidence.

Accordingly, the Court finds that Defendant’s motion to compel as to Interrogatory No. 15 should

be, and hereby is, DENIED.

       Request for Production No. 11 seeks all non-privileged e-mails sent or received by Plaintiffs

since the date of the accident which contain the following words or phrases: policy limits, liability

limits, injury, injuries, doctor, doctors, USAA, insurance, Shawn Hill, Hill, Farmers, accident,

damage, damages, emotion, or suffering. Plaintiffs assert that the request is overly broad, unduly

burdensome, oppressive, and seeks information not reasonably calculated to lead to the discovery

of admissible evidence. Plaintiffs also assert that the information is protected by the attorney-client

or attorney work product privilege, and that the request is an unnecessary invasion of privacy.

Defendant asserts that e-mail can be a fertile source of information with respect to Plaintiffs’ claims

and allegations.

       Having carefully reviewed the parties’ submissions, the Court finds that Plaintiffs have

neither met their burden of establishing that the requested information is protected by the attorney-

client privilege or the attorney work product privilege, nor have they established the

burdensomeness or oppressiveness of the request. Additionally, the Court finds that Defendant has

met its burden of establishing the relevance of the information. Accordingly, the Court finds that


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Defendant’s motion to compel as to Request for Production No. 11 should be, and hereby is

GRANTED.

III.   Attorney Fees

       In its motion to compel, Defendant moves the Court to require Plaintiffs to pay its attorney

fees and costs incurred in making the motion. Where, as here, a motion to compel is granted in part

and denied in part, the court may apportion reasonable expenses incurred in relation to the motion

among the parties in a just manner. Fed. R. Civ. P. 37(a)(4)(C). In light of the fact that this Court

has denied the motion to compel in part, the Court finds that an award of attorney fees and costs are

not warranted.3

IV.    Conclusion

       For the reasons set forth above, the Court GRANTS IN PART and DENIES IN PART

Defendant’s Supplemental Motion to Compel [docket no. 8] as follows:

       (1)     The Court GRANTS Defendant’s motion to compel as to Interrogatory Nos. 7, 8, 9
               and 10 subpart a and Request for Production Nos. 4, 11 and 17 subparts j - k;
               Plaintiffs must provide separate, complete answers or produce documents responsive
               to these requests on or before January 20, 2006 subject to the parties’ Stipulated
               Confidentiality Agreement and Protective Order; and




       3
         The Court would remind Plaintiffs of their continuing duty to comply with the Federal Rules
of Civil Procedure governing discovery. Plaintiffs’ counsel is advised that future violations may
result in the imposition of sanctions.

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       (2)     The Court DENIES Defendant’s motion to compel as to Interrogatory Nos.4, 5, 6,
               10 subpart b, 12, 14 and 15, and as to Request for Production Nos. 7, 17 subparts a -
               i, 20, 23 and 24.4

       IT IS SO ORDERED this 11th day of January, 2006.




       4
        The Court would remind Plaintiffs of their duty to supplement or correct their discovery
responses when required pursuant to Fed. R. Civ. P. 26(e).

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